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                        Exhibit 5
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Western Shelter multiyear pricing for CT Scanner Project

                                                            Power distribution   NRE refurbished NRE 3 in 1 New WS NRE for both the refurbished ISO
Year       Integration Price Three in one Container Price       package                ISO           container       & new 3 in 1 WS Container

                                                                                  $171,428.57       $171,428.57                $257,142.86

2018         $172,101.85             $174,971.30               $23,361.95
2019         $175,715.99             $178,645.70               $23,852.55
2020         $179,406.02             $182,397.26               $24,353.45
2021         $183,173.55             $186,227.60               $24,864.87
2022         $187,020.19             $190,138.38               $25,387.03
2023         $190,947.62             $194,131.29               $25,920.16
2024         $194,957.52             $198,208.04               $26,464.49
2025         $199,051.62             $202,370.41               $27,020.24
2026         $203,231.71             $206,620.19               $27,587.67
2027         $207,499.57             $210,959.22               $28,167.01

Notes:    *One-time fee for design, development, and testing. 50% paid at time of first order placement, balance under standard terms.
          **Order placement for both the government supplied ISO and the new WS container must occur at the same time for the $257,142.86 price.
